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                                   UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS




President Donald J. Trump                               §
                 Plaintiff                              §
                                                        §
                                                        §
                      v.                                §     Case No. 2:24-cv-00236-Z
                                                        §
                                                        §
CBS Broadcasting Inc. & CBS Interactive Inc.            §
               Defendant                                §


                           APPLICATION FOR ADMISSION PRO HAC VICE
                            (Complete all questions; indicate “N/A” if necessary.)

I.       Applicant is an attorney and a member of the law firm of (or practices under the name of)

Davis Wright Tremaine LLP                                                                     , with offices at

1251 Avenue of the Americas, 21st Floor
(Street Address)

New York                                                      NY                     10020
(City)                                                       (State)                 (Zip Code)

 212-402-4043
(Telephone No.)                                               (Fax No.)




II.      Applicant will sign all filings with the name Alexandra Perloff-Giles                                .


III.     Applicant has been retained personally or as a member of the above-named firm by:
                                          (List All Parties Represented)

CBS Broadcasting Inc. & CBS Interactive Inc.




to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
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IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                     New York                        , where Applicant regularly practices law.       _______________


Bar license number:_______________
                    5686944                 Admission date:____________________________
                                                            04/22/2019

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

See attached Exhibit A




VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:
N/A




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:
N/A




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):
N/A
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            IX.       Applicant has filed for pro hac vice admission in the United States District Court for the
            Northern District of Texas during the past three (3) years in the following matters:

            Date of Application:                    Case No. And Style:

            N/A                                     N/A




                                             (If necessary, attach statement of additional applications.)


            X.        Local counsel of record associated with Applicant in this matter is

            Thomas C. Riney                                                                                           , who has offices at

            Underwood Law Firm, PC, 500 S. Taylor St., Suite 1200
            (Street Address)

            Amarillo                                                              TX                            79101-2446
            (City)                                                               (State)                        (Zip Code)


             806-376-5613                                                         806-379-0316
            (Telephone No.)                                                       (Facsimile No.)



            XI.       Check the appropriate box below.
                      For Application in a Civil Case

                       ✔        Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
                                F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
                                comply with the standards of practice adopted in Dondi and with the local civil rules.
                      For Application in a Criminal Case
                                Applicant has read and will comply with the local criminal rules of this court.


            XII.      Applicant respectfully requests to be admitted to practice in the United States District Court for
            the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
            document has been served upon each attorney of record and the original upon the clerk of court,
            accompanied by a $100 filing fee, on this the              3        day of December                               , 2024         .



                                                                                  Alexandra Perloff-Giles
                                                                                  Printed Name of Applicant


                                                                                  Signature
If the applicant files this document through the applicant’s electronic-filing account, the applicant’s typed name on the signature block constitutes the
applicant’s signature. If the applicant does not file this document through the applicant’s electronic-filing account, the applicant must sign on the
signature line.
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                                        EXHIBIT A

ALL COURTS TO WHICH APPLICANT HAS BEEN ADMITTED TO PRACTICE AND
                      DATES OF ADMISSION

State of New York (2019) (Bar Number 5686944)
United States Supreme Court (2024)
United States Court of Appeals for the Second Circuit (2019)
United States Court of Appeals for the Fifth Circuit (2023)
United States Court of Appeals for the Ninth Circuit (2020)
United States District Court for the District of Columbia (2020)
United States District Court for the Eastern District of New York (2019)
United States District Court for Southern District of New York (2019)
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             Appellate Division of the Supreme Court
                        of the State of New York
                       First Judicial Department


      I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                       Alexandra Perloff-Giles
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on April 22, 2019,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and        according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of New York on
                              November 18, 2024.




                                           Clerk of the Court




CertID-00201004
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                  Supreme Court of the State of New York
                   Appellate Division, First Department

  DIANNE T. RENWICK                                                                 MARGARET SOWAH
     PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


 SUSANNA MOLINA ROJAS                                                          DOUGLAS C. SULLIVAN
     CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                        Susanna Rojas
                                                        Clerk of the Court




Revised October 2020


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